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 6                               UNITED STATES DISTRICT COURT
 7                                      DISTRICT OF NEVADA
 8                                                  ***
 9   LAURA LEIGH,                                         3:10-cv-00597-LRH-VPC
                                                          C/A No. 13-16473
10                                 Plaintiff/Appellant,
11           v.
                                                                  ORDER ON MANDATE
12   SALLY JEWELL, Secretary, U.S. Department
     of the Interior; et al.,
13
                               Defendants/Appellees.
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15           The above-entitled cause having been before the United States Court of Appeals for the
16    Ninth Circuit, and the Court of Appeals having on July 28, 2014, issued its mandate dismissing
17    the appeal subsequent to granting Appellant’s motion to voluntarily dismiss the appeal, and the
18    Court being fully advised in the premises, NOW, THEREFORE, IT IS ORDERED that the
19    mandate be spread upon the records of this Court.
20           DATED this 4th day of August, 2014.
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23                                                        LARRY R. HICKS
                                                          UNITED STATES DISTRICT JUDGE
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